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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

K. SCOTT STOKES,                       )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
SHIVSAINATH, LLC,                      )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, K. SCOTT STOKES, by and through the undersigned

counsel, and files this, his Complaint against Defendant SHIVSAINATH, LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division, as the parcel of real property at issue in this case is

located in Cobb County, Georgia.

                                     PARTIES

       3.     Plaintiff K. SCOTT STOKES (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Roswell,

Georgia (Fulton County).

       4.     Plaintiff is a quadriplegic and is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant SHIVSAINATH, LLC (hereinafter “Defendant”) is a

Georgia limited liability company that transacts business in the state of Georgia

and within this judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: William C. Bushnell, 297 Prince Avenue, Suite 24,

Athens, Georgia 30601.

                            FACTUAL ALLEGATIONS

       9.     On or about February 27, 2021, Plaintiff was a customer at “Mazzy's


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Sports Bar & Grill,” a business located at 2217 Roswell Road, Suite A200,

Marietta, Georgia 30062.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately thirteen (13) miles from the Facility and

Property.

      12.    Plaintiff’s access to the businesses located at 2217 Roswell Road,

Marietta, Georgia 30062 (Cobb County Property Appraiser’s parcel number

16102900260), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


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      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

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regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


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conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     Accessible parking spaces are not properly located or

              distributed on the Property, in violation of section 208.3 of the

              2010 ADAAG standards. Specifically, the upper level of the

              Property does not have one disabled accessible parking space

              per twenty-five parking spaces.

      (ii)    The two accessible parking spaces on the Property most

              proximate to the entrance of the Mazzy’s portion of the Facility

              are missing proper identification signage, in violation of section

              502.6 of the 2010 ADAAG standards.

      (iii)   The two accessible parking spaces on the Property most

              proximate to the entrance of the Mazzy’s portion of the Facility

              each have a slope in excess of 1:48 (one to forty-eight), in


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       violation of section 502.4 of the 2010 ADAAG standards.

(iv)   There is an excessive vertical rise on the accessible route on the

       Property that leads to the entrance of the Mazzy’s portion of the

       Facility, in violation of section 403.2 of the 2010 ADAAG

       standards.

(v)    The ground surface within the required maneuvering clearance

       at the entrance of the Mazzy’s portion of the Facility is not

       level, in violation of section 404.2.4.4 of the 2010 ADAAG

       standards.

(vi)   The signage for the accessible parking space on the Property

       across the vehicular way from Suite 104 of the Facility is not

       installed at a permissible height, in violation of section 502.6 of

       the 2010 ADAAG standards. This accessible parking also does

       not have an adjacent access aisle, in violation of section 502.3

       of the 2010 ADAAG standards.

(vii) The signage for the accessible parking space on the Property

       across the vehicular way from Suite 108 of the Facility is not

       installed at a permissible height, in violation of section 502.6 of

       the 2010 ADAAG standards. This accessible parking also does


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       not have an adjacent access aisle, in violation of section 502.3

       of the 2010 ADAAG standards.

(viii) The signs for two of the three accessible parking spaces on the

       Property across the vehicular way from Suite 140 of the Facility

       are not installed at a permissible height, in violation of section

       502.6 of the 2010 ADAAG standards. One of these three spaces

       has no signage, also in violation of section 502.6 of the 2010

       ADAAG standards.

(ix)   None of the three accessible parking spaces on the Property

       across the vehicular way from Suite 140 of the Facility have an

       adjacent access aisle, in violation of section 502.3 of the 2010

       ADAAG standards.

(x)    One of the three accessible parking spaces on the Property

       across the vehicular way from Suite 140 of the Facility has a

       cross-slope in excess of 1:48 (one to forty-eight), in violation of

       section 502.4 of the 2010 ADAAG standards.

(xi)   The lower level of the Property has multiple accessible ramps

       with running slopes exceeding 1:10 (one to ten), in violation of

       section 405.2 of the 2010 ADAAG standards.


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(xii) The lower level of the Property has multiple accessible ramps

       with excessive vertical rises at their base and landing, in

       violation of section 405.7 of the 2010 ADAAG standards.

(i)    Multiple portions of the accessible route on the lower level of

       the Property have a running slope in excess of 1:20 (one to

       twenty), in violation of section 403.3 of the 2010 ADAAG

       standards. These areas also have total vertical rises greater than

       6” (six inches), but do not have handrails complying with

       section 505 of the 2010 ADAAG standards, in violation of

       section 405.8 of the 2010 ADAAG standards.

(b)    INTERIOR ELEMENTS:

(i)    The interior of the Mazzy’s portion of the Facility has a bar

       lacking any portion of which that has a maximum height of 34”

       (thirty-four inches) from the finished floor, in violation of

       section 902.3 of the 2010 ADAAG standards.

(ii)   There is no seating within reasonable proximity to the above-

       described   bar   offering    dining   surfaces   provided     for

       consumption of food or drink which complies with section

       902.2 of the 2010 ADAAG standards, requiring appropriate


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        knee and toe clearance complying with section 306 of the 2010

        ADAAG standards, positioned for a forward approach, in

        violation of section 226.1 of the 2010 ADAAG standards.

(iii)   The Mazzy’s portion of the Facility lacks restrooms signage

        that complies with sections 216.8 and 703 of the 2010 ADAAG

        standards.

(iv)    The hand operated flush control on the commode in the

        accessible toilet stall in the restroom in the Mazzy’s portion of

        the Facility is not located on the open side of the accessible

        stall, in violation of section 604.6 of the 2010 ADAAG

        standards.

(v)     There are no rear grab bars adjacent to the commode in the

        restroom in the Mazzy’s portion of the Facility, in violation of

        section 604.5 of the 2010 ADAAG standards.

(vi)    The toilet paper dispenser in the restroom in the Mazzy’s

        portion of the Facility is positioned outside the permissible

        reach ranges set forth in section 604.7 of the 2010 ADAAG

        standards.

(vii) The centerline of the commode in the accessible toilet stall in


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              the restroom in the in the Mazzy’s portion of the Facility is

              positioned more than 18” (eighteen inches) from the sidewall,

              in violation of section 604.2 of the 2010 ADAAG standards.

       (viii) The accessible toilet stall door in the restroom in the in the

              Mazzy’s portion of the Facility is not self-closing, in violation

              of section 604.8.2.2 of the 2010 ADAAG standards.

       (ix)   The height of the coat hook located in the toilet stall in the

              restroom in the in the Mazzy’s portion of the Facility are above

              48” (forty-eight inches) from the finished floor, in violation of

              section 308.2.1 of the 2010 ADAAG standards.

       31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to find and utilize a disabled accessible parking

space, more difficult for Plaintiff to exit and re-enter his vehicle, more difficult for

Plaintiff to travel upon the accessible routes on the Property and more difficult for

Plaintiff to utilize all features of the restroom in in the Mazzy’s portion of the

Facility.

       32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.


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      33.   Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.


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      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and


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             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: March 12, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

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